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               IN THE UNITED STATES DISTRICT COURT
              FOR THE SOUTHERN DISTRICT OF GEORGIA
                       BRUNSWICK DIVISION

State of KANSAS,
State of GEORGIA,
State of SOUTH CAROLINA,
State of Arkansas,
State of Florida,
State of Idaho,
State of Indiana,
State of Iowa,
State of Louisiana,
State of Missouri,
State of Montana,
State of Nebraska,
State of North Dakota,
State of Oklahoma,
State of Tennessee,
State of Texas,
State of Virginia,
MILES BERRY FARM, and
GEORGIA FRUIT AND VEGETABLE                   Civil Action No. __24-cv-76____
GROWERS ASSOCIATION,
                       Plaintiffs,

v.

The United States Department of Labor,

JOSÉ JAVIER RODRÍGUEZ, Assistant
Secretary for Employment & Training,
U.S. Department of Labor, in his official
capacity, and

JESSICA LOOMAN, Administrator, Wage
& Hour Division, U.S. Department of
Labor, in her official capacity,

                         Defendants.

                                  EXHIBIT 2
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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF GEORGIA
                               BRUNSWICK DIVISION

 The State of KANSAS, ET AL.,                       )
                                                    )
        Plaintiffs,                                 )
                                                    )
 v.                                                 )
                                                    ) Case No. 2:24-cv-00076-LGW-BWC
 UNITED STATES DEPARTMENT                           )
 OF LABOR, ET AL.,                                  )
        Defendants.                                 )
                                                    )



                              DECLARATION OF ALLEN MILES


       I, Allen Miles, declare the following:

       1.      The facts set forth in this declaration are based on my knowledge and, if called as

a witness, I can competently testify to their truthfulness under oath. As to those matters that reflect

a matter of opinion, they reflect my personal opinion and judgment upon the matter.

       2.      I am a citizen of the United States, a resident of Georgia, over 18 years of age, and

have personal knowledge of the facts set forth herein.

       3.      I am fully competent to make this declaration.

       4.      I am married to Dorothy Miles.

       5.      We own and operate Miles Berry Farm, which is based in Baxley, Georgia.

       6.      Miles Berry Farm is not a member of the Georgia Fruit and Vegetable Growers

Association.
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           7.    Our farm was established in 1990. It is a 400-acre organic farm on which we

primarily grow blueberries. We also grow strawberries, zucchinis, razzmatazz grapes, cabbage, and

other seasonal fruits and vegetables.

           8.    The crops we grow require significant field work, including hand-picking of fragile

berries.

           9.    We advertise employment opportunities each year in an effort to locate a sufficient

number of domestic workers for our farm. We have not been able to locate a sufficient number of

domestic workers, despite our best efforts.

           10.   Miles Berry Farm has been hiring workers through the H-2A program since 2016.

From 2016 to 2021, we used a farm labor contractor to recruit and hire H-2A workers. Since 2022,

we have employed H-2A workers directly.

           11.   Presently, Miles Berry Farm employs around 150 H-2A workers each year.

           12.   We are fully dependent on H-2A workers as our labor force. Without them, our farm

would lack the labor necessary to survive.

           13.   We treat our H-2A workers like family. The fact that many of our H-2A workers

return to our farm year after year shows that we treat them well and pay them fairly.

           14.   We intend to employ a similar number of H-2A workers in 2025, with our next

group of workers starting in February of 2025. To make this possible, we will be submitting our

next application to participate in the H-2A program for 2025 between October and November of

2024.

           15.   As part of partaking in the H-2A program, our farm provides housing and

transportation for our H-2A workers. The housing we provide is in the city of Baxley, rather than




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on our farm property. We only permit H-2A workers and their supervisors onto farm property and

into the housing we provide.

         16.   To date, we are unaware of any union organizers approaching our H-2A workers.

         17.   We do not wish to hire H-2A workers who are protected by provisions mirroring

those in the National Labor Relations Act and would not do so without the Final Rule taking

effect and compelling us to.

         18.   We oppose permitting union organizers onto farm property or in the housing units

we provide and would not permit them onto our property without the Final Rule taking effect and

compelling us to.

         19.   We oppose permitting union organizers access to our property to meet with our H-

2A employees, including in situations where the H-2A employee has invited the union organizer

onto our property. We would not permit this access without the Final Rule taking effect and compelling

us to.

         20.   We oppose permitting H-2A employees the ability to have a designee attend any

investigatory interview that the employee reasonably believes might result in disciplinary action.

This requirement places a considerable burden on our ability to timely and efficiently resolve

personnel matters. This is particularly true as to disputes that may arise between employees while

working in the fields. Without the Final Rule taking effect and compelling us to do so, we would

not delay investigatory actions to permit a designee to attend.




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         21.   Finally, each time a federal agency changes the already layered and complex

regulations governing the H-2A program, we are forced to either devote a significant amount of

our time and our staff’s time to learning the new regulations or hire an outside service provider,

specialist, or attorney to interpret, navigate, apply, and assure compliance with the new set of

regulations. These compliance costs harm our business.



         I declare under penalty of perjury of the laws of the United States of America that the

foregoing is true and correct.




Dated:
                                                            Allen Miles




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